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STATE OF MINNESOTA                                               DISTRICT COURT

COUNTY OF HENNEPIN                                  FOURTH JUDICIAL DISTRICT
____________________________________
                                                           Case Type: Civil Rights
Kari L. Andrews,
Brandon C. Bennett,
Jeremy D. Boeckel,                                      Court File No. ____________

               Plaintiffs,

v.                                                              COMPLAINT

Brian R. Thole,
Aaron L. Biard,
Tyrone D. Barze Jr.,
Joe Poidinger,
Brandon P. Kitzerow,
Aaron C. Morrison,
Jeff E. Kading,
Steven J. Laux,
and City of Minneapolis;

            Defendants.
____________________________________

      For their Complaint against Defendants above-named, Plaintiffs state

and allege as follows:

                                   THE PARTIES

      1.       Plaintiffs are adults who currently reside and have resided in

Minneapolis, Minnesota at all times relevant to this action.

      2.       Andrews is Bennett’s mother.

      3.       Boeckel lived with Andrews and Bennett at all times relevant to

this action.

      4.       Defendants Brian R. Thole, Aaron L. Biard, Tyrone D. Barze Jr.,

Joe Poidinger, Brandon P. Kitzerow, Aaron C. Morrison, Jeff E. Kading, and




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Steven J. Laux (the “individual defendants”) are adult males who at all times

relevant to the allegations set forth in this Complaint were acting under the

color of state law in their capacities as law enforcement officers employed by

the City Minneapolis, Minnesota. Plaintiffs are suing the individual defendants

in their individual capacity.

      5.    Defendant City of Minneapolis (“Minneapolis”) is a political

subdivision of the State of Minnesota. Minneapolis employs the individual

defendants as police officers. Minneapolis is sued directly and also, on all

relevant claims, on the theories of respondeat superior or vicarious liability and

pursuant to Minnesota Statutes § 466.02 for the unlawful conduct of the

individual defendants.

                                JURISDICTION

      6.    This is an action for monetary relief under 42 U.S.C. §§ 1983 and

1988 and federal and state common law. This Court has jurisdiction over this

matter pursuant to Minn. Stat. § 484.01 et seq. and Minnesota common law.

Venue lies properly in Hennepin County, Minnesota pursuant to Minn. Stat. §

542.01 et seq., as the events giving rise to this action occurred in Hennepin

County.

                            GENERAL ALLEGATIONS

      7.    The INDIVIDUAL DEFENDANTS arrived at Plaintiffs’ residence in

North Minneapolis on September 13, 2012 at or around 10 AM.

      8.    The INDIVIDUAL DEFENDANTS arrived to execute a “no knock”

search warrant on Plaintiffs’ residence.


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      9.     The INDIVIDUAL DEFENDANTS broke down Plaintiffs’ front door

when they arrived.

      10.    The INDIVIDUAL DEFENDANTS wore tactical gear and ski masks

at all times relevant to this action.

      11.    Some of the INDIVIDUAL DEFENDANTS carried automatic

weapons at the times relevant to this action.

      12.    Plaintiffs were cooperative with the INDIVIDUAL DEFENDANTS at

all times relevant to this action.

      13.    Plaintiffs complied with the INDIVIDUAL DEFENDANTS’

instructions at all times relevant to this action.

      14.    None of the Plaintiffs were charged with any crime related to the

events giving rise to this action.

      The INDIVIDUAL DEFENDANTS Used Excessive Force on Bennett

      15.    The INDIVIDUAL DEFENDANTS placed Bennett in handcuffs.

      16.    The INDIVIDUAL DEFENDANTS repeatedly kicked and hit Bennett

about his face and body.

      17.    Bennett was in handcuffs and lying on the floor when the

INDIVIDUAL DEFENDANTS kicked and hit him about his face and body.

      18.    Bennett sought medical treatment for his injuries caused by the

INDIVIDUAL DEFENDANTS.

      19.    Bennett’s medical providers administered medication to treat his

injuries.




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      The INDIVIDUAL DEFENDANTS Used Excessive Force on Boeckel

      20.       Boeckel was sleeping on the couch in the front room when the

INDIVIDUAL DEFENDANTS entered the residence.

      21.       Boeckel is a heavy sleeper, and the INDIVIDUAL DEFENDANTS’

initial entrance did not wake him up.

      22.       The INDIVIDUAL DEFENDANTS threw Boeckel on the floor.

      23.       Boeckel woke up when the INDIVIDUAL DEFENDANTS threw him

on the floor.

      24.       Boeckel turned his head to see who threw him on the floor.

      25.       One of the INDIVIDUAL DEFENDANTS kicked Boeckel in the face.

      26.       The kick caused Boeckel to lose consciousness.

      27.       The INDIVIDUAL DEFENDANTS applied handcuffs on Boeckel

while he was unconscious.

      28.       The INDIVIDUAL DEFENDANTS continued to punch and kick

Boeckel about his face and body while he was unconscious.

      29.       On information and belief, the INDIVIDUAL DEFENDANTS hit

Boeckel in his face with a blunt object while he was unconscious.

      30.       Boeckel sought medical treatment for his injuries caused by the

INDIVIDUAL DEFENDANTS.

      31.       Boeckel’s medical providers administered medication to treat his

injuries.

      32.       Boeckel’s medical providers prescribed him medication to treat his

injuries.


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The INDIVIDUAL DEFENDANTS Caused Andrews to Experience Emotional
                           Distress

      33.    The INDIVIDUAL DEFENDANTS placed Andrews in handcuffs

while executing the warrant.

      34.    The INDIVIDUAL DEFENDANTS made her crawl through broken

glass into the kitchen while she was in handcuffs.

      35.    Andrews asked the INDIVIDUAL DEFENDANTS why they were in

her house.

      36.    In response, one of the INDIVIDUAL DEFENDANTS trained the

laser sight of his weapon on Bennett’s temple, near Andrews and within her

view, for about one minute.

      37.    The INDIVIDUAL DEFENDANTS’ conduct has caused Andrews to

develop a tremor that, at times, causes her to shake uncontrollably.

      38.    Andrews sought medical treatment for her emotional injuries

caused by the INDIVIDUAL DEFENDANTS.

      39.    Andrews’ medical providers diagnosed her with PTSD.

      40.    Andrews’ medical providers prescribed her medication to treat her

injuries.

                            COUNT I
                      (Bennett and Boeckel)
DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
 THE FOURTH AND FOURTEENTH AMENDMENTS—EXCESSIVE FORCE


      41.    Plaintiffs restate the allegations contained in the preceding

paragraphs as though fully incorporated herein.



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      42.   The INDIVIDUAL DEFENDANTS used force against Bennett and

Boeckel when effectuating a seizure on them.

      43.   The amount of force that the INDIVIDUAL DEFENDANTS used

while seizing Bennett and Boeckel was unreasonable under the circumstances.


      44.   The INDIVIDUAL DEFENDANTS were acting under color of state

law when they used unreasonable force while seizing Bennett and Boeckel.

      45.   The INDIVIDUAL DEFENDANTS actions and omissions caused

Bennett and Boeckel to suffer violations of their Fourth Amendment rights.

      46.   At the time of the events giving rise to this action, it was clearly

established that it is unconstitutional to use unreasonable force, as the

INDIVIDUAL DEFENDANTS used against Bennett and Boeckel, to effectuate a

seizure.

      47.   Bennett and Boeckel suffered harm as a result of the INDIVIDUAL

DEFENDANTS’ denial of their constitutional rights.

                                   COUNT II
                             (Bennett and Boeckel)
                                  BATTERY

      48.   Plaintiffs restate the preceding paragraphs as though fully stated

herein.

      49.   The INDIVIDUAL DEFENDANTS harmfully touched Bennett and

Boeckel.

      50.   The INDIVIDUAL DEFENDANTS’ actions were objectively

unreasonable and actually and proximately caused Bennett and Boeckel to

suffer harm.

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                                    COUNT III
                                  (All Plaintiffs)
                       INFLICTION OF EMOTIONAL DISTRESS

       51.    Plaintiffs restate the allegations contained in the preceding

paragraphs as though fully incorporated herein.

       52.    By Defendants’ aforementioned wrongful conduct and/or failure to

act, Defendants engaged in a pattern of unlawful conduct that caused Plaintiffs

to suffer severe emotional distress and trauma that no reasonable person could

be expected to endure.

       53.    The course of Defendants’ conduct was so extreme and outrageous

that it goes beyond all possible bounds of decency and is utterly intolerable in

a civilized society.

       54.    Defendants, by their extreme and outrageous conduct complained

of herein, intentionally and/or recklessly caused severe emotional distress to

Plaintiffs.

       55.    Plaintiffs have suffered injuries as a result of the severe emotional

distress caused by Defendants in an amount to be proven at trial.

                                COUNT IV
                           (Bennett and Boeckel)
                CIVIL CONSPIRACY TO VIOLATE CIVIL RIGHTS

       56.    Plaintiff restates the preceding paragraphs as though fully stated

herein.

       57.    THE INDIVIDUAL DEFENDANTS reached an agreement to deprive

Bennett and Boeckel of their constitutional rights when they unlawfully used

excessive force against them.


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     58.   THE INDIVIDUAL DEFENDANTS did not report each other’s

unlawful conduct.

     59.   Bennett and Boeckel were harmed as a result of Defendants’

conduct.

                                 JURY DEMAND

     60.   Plaintiffs demand a jury trial.

                            PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs respectfully request that the Court:

     1.    Enter judgment in Plaintiffs’ favor on their claims against

           Defendants in an amount exceeding $50,000, the exact amount to

           be proven at trial;

     2.    Award Plaintiffs damages to compensate them for the injuries they

           suffered as a result of Defendants’ unlawful conduct;

     3.    Grant Plaintiffs leave to amend the complaint to include a claim for

           punitive damages, the exact amount to be proven at trial;

     4.    Award Plaintiffs reasonable expenses incurred in this litigation,

           including attorney and expert fees, pursuant to 42 U.S.C. § 1988;

     5.    Grant Plaintiffs all statutory relief to which they are entitled;

     6.    Grant any other relief the Court deems just and equitable.




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Dated: October 18, 2012
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       ACKNOWLEDGEMENT REQUIRED BY MINN. STAT. § 549.211

     Plaintiffs, through undersigned counsel, acknowledge that sanctions,

attorneys’ fees, and witness fees may be imposed under Minn. Stat. § 549.211.




Dated: October 18, 2012
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